AO 245D (WDNC Rev. 01/2020) Judgment in a Criminal Case for Revocation




                                                UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
    UNITED STATES OF AMERICA                                             )   JUDGMENT IN A CRIMINAL CASE
                                                                         )   (For Revocation of Probation or Supervised Release)
                 V.                                                      )   (For Offenses Committed On or After November 1, 1987)

                                                                         )
    DANQUON SHERMAINE BROWN                                              )   Case Number: DNCW113CR000009-001
                                                                         )   USM Number: 28132-058
                                                                         )
                                                                         )   Joseph Carroll Bowman
                                                                         )   Defendant’s Attorney

THE DEFENDANT:
  Admitted guilt to violations 1, 2, 3 of the Petition and violation 12 of the Addendum to the Petition.
  Was found guilty of violation 9 of the Addendum to the Petition after denial of guilt.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations:

  Violation                                                                                                    Date Violation
  Number           Nature of Violation                                                                          Concluded
       1           UNAUTHORIZED COMMUNICATION / INTERACTION WITH FELON                                           7/06/2020
       2           DRUG/ALCOHOL USE                                                                              3/12/2020
       3           FAILURE TO COMPLY WITH DRUG TESTING/TREATMENT                                                 7/13/2020
                   REQUIREMENTS
       9           POSSESSION OF FIREARM BY A FELON                                                              7/21/2020
      12           DRUG/ALCOHOL USE                                                                              7/20/2020

        The Defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

  Defendant found not guilty as to violation(s) of the Petition and is discharged as to such violation(s).
  Violations 4-8, 10 and 11 of the Addendum of the Petition are dismissed on the motion of the United States.
        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States attorney
of any material change in the defendant's economic circumstances.


                                                                                  Date of Imposition of Sentence: 10/15/2020




                                                                                  Date: October 16, 2020




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                                                                         IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
FOURTEEN (14) MONTHS. THE TERM OF IMPRISONMENT IMPOSED BY THIS JUDGMENT SHALL BE
CONSECUTIVE TO ANY UNDISCHARGED TERM OF IMPRISONMENT IMPOSED BY ANY STATE OR FEDERAL
COURT, WHETHER PREVIOUSLY OR HEREAFTER IMPOSED, PARTICULARLY INCLUDING ANY TERM IMPOSED
BY THE STATE COURT WITH REGARD TO ANY OF THE NEW LAW VIOLATIONS THAT ARE SET OUT IN THE
ADDENDUM TO THE PETITION.

 The Court makes the following recommendations to the Bureau of Prisons:
         1.     Participation in any available educational and vocational opportunities.
         2.     Participation in any available substance abuse treatment program and, if eligible, receive benefits of
                18:3621(e)(2).
         3.     Defendant shall support all dependents from prison earnings.

 The Defendant is remanded to the custody of the United States Marshal.

 The Defendant shall surrender to the United States Marshal for this District:
             As notified by the United States Marshal.
             At on .

 The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             As notified by the United States Marshal.
             Before 2 p.m. on .
             As notified by the Probation Office.


                                                                           RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                         United States Marshal
                                                                                    By:
                                                                                          Deputy Marshal




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                                                                     SUPERVISED RELEASE
Upon release from imprisonment the Court Orders that NO FURTHER TERM OF SUPERVISED RELEASE IS IMPOSED.




                                                              [Remainder of page intentionally left blank]




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